

People v Leon (2024 NY Slip Op 03386)





People v Leon


2024 NY Slip Op 03386


Decided on June 20, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 20, 2024

Before: Oing, J.P., Friedman, González, Rodriguez, O'Neill Levy, JJ. 


Ind No. 1055/21 Appeal No. 2540 Case No. 2023-01136 

[*1]The People of The State of New York, Respondent, 
vJacob Leon, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Danielle A. Bernstein of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Rafael Curbelo of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Albert Lorenzo, J.), rendered January 24, 2023,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 20, 2024
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








